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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                   ***
 9    UNITED STATES OF AMERICA,                            )
                                                           )
10                                  Plaintiff,             )           2:15-cr-00069-JCM-NJK
                                                           )
11    vs.                                                  )
                                                           )
12    BING HAN,                                            )                 ORDER
                                                           )
13                                  Defendant.             )
                                                           )
14
15            Pending before the Court is Defendant’s Motion to Suppress Evidence and Statements.
16    Docket No. 38. The Court hereby SETS an evidentiary hearing on this motion, for September 8,
17    2015, at 10:30 a.m. in Courtroom 3A. See United States v. Howell, 231 F.3d 615, 621 (9th Cir.
18    2000) (evidentiary hearing required where defendant demonstrates that a significant disputed factual
19    issue exists).
20            IT IS SO ORDERED.
21            DATED: August 10, 2015.
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                                                    NANCY J. KOPPE
25                                                  United States Magistrate Judge
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